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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                   Electronically filed

    JESSICA L. STONE                   )                       3:17-cv-00152-DJH
                                       )
                             PLAINTIFF )
                                       )
    v.                                 )
                                       )
    HEALTHCARE REVENUE RECOVERY )
    GROUP, LLC, d/b/a ARS ACCOUNT      )
    RESOLUTION SERVICES, ET. AL.       )
                                       )
                          DEFENDANTS )


                                     NOTICE OF SETTLEMENT

        Defendant, Health Care Recovery Group, LLC, d/b/a ARS Account Resolution Services,

 hereby notifies the Court the parties have reached a settlement agreement in this action and are

 now finalizing settlement documentation. The parties will file an agreed order of dismissal with

 the Court upon completion of settlement.

                                     Respectfully submitted,

                                     REMINGER CO., LPA

                                     /s/ Anthony M. Pernice
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                                     Reminger Co., LPA
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                                     Recovery Group, LLC d/b/a ARS
                                     Account Resolution Services




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2018, I electronically filed the foregoing document with
 the Clerk of the Court by using the electronic filing system and served same via U.S. First Class
 Mail to the following:

 David W. Hemminger
 Hemminger Law Offices, PSC
 616 South Fifth Street
 Louisville, KY 40202
 Counsel for Plaintiff

                                              /s/ Anthony M. Pernice
                                              Counsel for Defendant,
                                              Health Care Recovery Group,
                                              LLC d/b/a ARS Account Resolution Services




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